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      In The United States Court of Federal Claims
                                            No. 08-758C

                                       (Filed: June 19, 2009)
                                            __________
 ROGER A. HOUSE,

                         Plaintiff,

         v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

         Mr. House is a former active duty Naval Lieutenant, who was fined $1,000 and received a
letter of reprimand for a court-martial conviction stemming from an alleged sexual assault of an
enlisted female on January 31, 2001. On approximately September 29, 2005, plaintiff learned
that Dr. Philip Mills, the forensic biologist who tested the DNA evidence used against him in his
court-martial trial, was under investigation for falsifying DNA entries (and admitted to doing so
in an unrelated case) and failing to maintain adequate safeguards during testing. Plaintiff’s
subsequent requests for relief were denied without considering the merits of the DNA issue: by
the Judge Advocate General on August 31, 2006, by the Navy-Marine Corps Court of Criminal
Appeals on December 20, 2007, by the United States Court of Appeals of the Armed Forces on
February 14, 2008, and by the Supreme Court on October 6, 2008.

         On October 24, 2008, plaintiff filed this suit for collateral relief, seeking to set aside his
conviction and have the $1,000 fine remitted. On remand, a United States Navy Judge Advocate
General set aside plaintiff’s conviction and granted his petition for a new trial because retesting
the DNA evidence exculpated plaintiff. Although that retesting occurred in 2006, the results
were not disclosed to plaintiff until he received a copy of the remand report in 2009. On June 6,
2009, plaintiff filed an amended complaint with this court, seeking active duty and retirement pay
at the Lieutenant Commander rank he contends he would have received had he not been forced to
retire as a Lieutenant because of his wrongful conviction.

        On June 18, 2009, defendant filed an unopposed motion to remand this matter to the
Board for Correction of Naval Records (BCNR). Consistent with that proposal, the court hereby
orders the following:
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1.       Proceedings in this case are STAYED.

2.       Until no later than December 17, 2009, this case is REMANDED to the
         Board for Correction of Naval Records to consider: (i) plaintiff’s claim
         that he was selected for a promotion by the selection board; (ii) plaintiff’s
         claim that he was forced to retire; and (iii) any other matters that plaintiff
         presents in writing to the BCNR regarding his separation.

3.       On or before September 17, 2009, defendant shall file an interim report on
         the status of the remand proceedings.

4.       On or before December 23, 2009, defendant shall file a final report
         indicating how this case shall proceed.

IT IS SO ORDERED.



                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge




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